            Case 1:19-cv-02743-CJN Document 31 Filed 07/09/21 Page 1 of 4




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,                               )
                                                    )
                 Plaintiff,                         )
                                                    )
v.                                                  )        Civil Action No. 19-2743 (CJN)
                                                    )
U.S. DEPARTMENT OF JUSTICE,                         )
                                                    )
                 Defendant.                         )
                                                    )

                            PLAINTIFF’S REPLY IN SUPPORT
                      OF CROSS-MOTION FOR SUMMARY JUDGMENT

          Plaintiff Judicial Watch, Inc. (“Plaintiff”), by counsel and pursuant to Rule 56(c) of the

Federal Rules of Civil Procedure, respectfully submits this reply to Defendant Department of

Justice’s (“Defendant”) opposition (“Def.’s Opp.”) to Judicial Watch’s cross-motion for

summary judgment.1

     I.      There is significant public interest in disclosing the EC in its entirety.

          Defendant questions any significant public interest in the full contents of the FBI’s EC

that initiated the counterintelligence investigation of former President Trump’s campaign and

Russian interference in the 2016 elections. See Def.’s Opp. at 3. Nothing could be further from

the truth. Disclosure of the full EC advances the public’s right to know what the government

did, who was involved, and why the investigation into Trump and Russian interference was

necessary. See Nation Magazine v. United States Customs Serv., 71 F.3d 885, 894 (D.C. Cir.

1995). The FBI itself has policies and practices in place to “protect the American people from an

FBI agent acting unilaterally.” See Second Declaration of Kevin Brock, former Assistant



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       Plaintiff herein refers to its initial memorandum (ECF No. 21) as “Pl.’s SJM” and its supplemental
memorandum (ECF No. 26) as “Pl.’s Supp. Mem.”
           Case 1:19-cv-02743-CJN Document 31 Filed 07/09/21 Page 2 of 4




Director of the Directorate of Intelligence for the Federal Bureau of Investigation (“Second

Brock Decl.”) ¶ 7, attached hereto as Ex. 1:

   •     “The FBI is required to create an opening document usually in the form of an Electronic

         Communication (“EC”) prior to investigating anyone, particularly a U.S. person

         (USPER) or entity.” Id. ¶ 2.

   •     “An EC initiating an investigation must include the targeted individual has, is, or is about

         to commit a crime or is acting on behalf of a foreign power, in order to justify opening an

         investigation pursuant to FBI practice and procedure and the Attorney General

         Guidelines.” Id. ¶ 4.

         Full release of the document advances the public’s right to know what the government

did, who was involved, and why the investigation into Trump and Russian interference was

necessary. See Nation Magazine v. United States Customs Serv., 71 F.3d 885, 894 (D.C. Cir.

1995).

         Here, the released record appears to say a single FBI agent initiated a criminal FARA

investigation of unidentified members of the Trump presidential campaign. See Second Brock

Decl. ¶ 6. “It was created by Peter Strzok, approved by Peter Strzok, and sent from Peter Strzok

to Peter Strzok. This is not usual procedure.” Id. In fact, “FBI policy prohibits an agent from

initiating and approving his or her own case. Such action violates FBI oversight protocols put in

place to protect the American people from an FBI agent acting unilaterally.” Id. ¶ 7.

         The Crossfire Hurricane case was opened as a FARA investigation. As a FARA case,

“the EC initiating the Crossfire Hurricane investigation should have included a list of facts

articulating reasonable suspicion that individuals associated with a U.S. presidential campaign

had been engaged by the Russian government to act on that government’s behalf.” Id. ¶ 8.


                                                  2
           Case 1:19-cv-02743-CJN Document 31 Filed 07/09/21 Page 3 of 4




However, the EC document released here “does not articulate any factors that would lead a

reasonable person to suspect a USPER connected to the presidential campaign was acting on

behalf of the Russian government.” Id. In fact, the EC does not identify any individual by name

as a target of the investigation; it does not articulate any factors that address the required

elements of FARA and, therefore, “does not contain sufficient justification for initiating an

investigation into USPERs.” Id. ¶ 9. On the face of the information released in the document,

the EC here – which initiated the Crossfire Hurricane investigation - “offers no legitimate

predication justifying the investigation of USPERs involved in a presidential campaign or

subsequent FISA intercept of a U.S. citizen.” Id. ¶ 11.

         The public undoubtedly has a significant interest in assessing how federal law

enforcement officials initiated this particularly noteworthy investigation, who was involved, and

the details that warranted a FARA investigation as “required by routine FBI policy and

procedure and the Attorney General Guidelines.” See Second Brock Decl. ¶¶ 8-9.

         The public has a right to disclosure to remain informed and able to assess the diligence of

the FBI’s investigation and “whether the government had the evidence but nevertheless pulled its

punches.” Citizens for Responsibility and Ethics in Washington v. U.S. Dep’t of Justice, 746

F.3d 1082, 1094 (D.C. Cir. 2014) (“CREW”). Like in CREW, Defendant tries to minimize the

public interest in the FBI’s initiation of the Crossfire Hurricane investigation. As in CREW, this

attempt should be rejected.

   II.      In Camera Review is Appropriate

         FOIA is meant to promote openness, not secrecy; disclosure, not withholding. Courts do

not require a showing of bad faith to engage an in camera review. Rather, Courts have departed

from routine reliance on agency affidavits, prescribing to in-camera review to facilitate full de



                                                   3
            Case 1:19-cv-02743-CJN Document 31 Filed 07/09/21 Page 4 of 4




novo adjudication of FOIA exemptions. See Ray v. Turner, 587 F.2d 1187, 1194-95 (D.C. Cir.

1978) (relating to Exemption 1). As fully developed in its prior briefing documents, Plaintiff

supports the Court undergoing an in-camera review to determine the appropriateness of

Defendants’ asserted exemptions. The only record at issue here is 4-pages in length and contains

minimal disputed redactions. However, the minimal withholdings in this brief document are

significant and exemplify the intent and spirit of FOIA – the right of citizens “to be informed

about what their government is up to.” Davis, 968 F.2d at 1282.

   III.      Conclusion

          Defendant is not entitled to summary judgment where the public interest in disclosure of

the EC in its entirety far outweighs Defendant’s purported justifications for withholding the

details in the document that initiated the Crossfire Hurricane investigation. For all of the reasons

described above, in Plaintiff’s initial memorandum (ECF No. 21), supplemental memorandum (ECF

No. 26), and both Brock declarations. Defendant’s motion for summary judgment should be denied

and Plaintiff’s cross-motion should be granted, or, in the alternative, Defendant should be required to

produce unredacted versions of the responsive records at issue in camera for the Court’s review.

Dated: July 9, 2021                                    Respectfully submitted,
                                                       /s/ Lauren M. Burke
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